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  I, Sarah Tankersley-Clark, first being duly sworn on oath, do state the following:

     1.   I attended Everitt Middle School for seventh grade during the 2016-2017 school year
          and eighth grade during the 2017-2018 school year.
     2.   When I arrived at Everitt in August of 2016, I was told about Titty Touch Tuesday and
          Slap Ass Friday as part of an informal orientation among students.
     3.   I was told that on Tuesdays, boys would grope girls’ breasts in the hallways between
          classes.
     4.   I was told that on Friday, boys would slap girls’ butts in the hallways between classes.
     5.   This was presented to me as a very normal thing and part of the experience of female
          students at Everitt.
     6.   As soon as the school year began, Titty Touch Tuesday and Slap Ass Friday began.
     7.   It happened on a weekly basis.
     8.   Many boys engaged in this conduct and many girls were subject to this harassment.
     9.   It was, unfortunately, very normal.
     10. Early in this period, two of my friends, Randy Reed and Sebastian Ryerson began
          engaging in this conduct towards me in the hallways at Everitt.
     11. I didn’t realize that this was sexual harassment or assault because it was so normal in the
          hallways that I believed this was just normal behavior between boys and girls.
     12. Teachers witnessed Titty Touch Tuesday and Slap Ass Friday every week and never took
          any action to stop it.
     13. It was widespread and well known throughout the school.
     14. I figured that if the teachers were ok with it and it was so widespread that the principal
          and vice principal must have known of it, it must have been ok.
     15. Nonetheless, in the fall of 2017, I told my counselor, Ms. MacDonald, that boys were
          touching my butt and and my breasts every week in the hallway as part of Titty Touch
          Tuesday and Slap Ass Friday.
     16. Ms. MacDonald acknowledged it but didn’t seem surprised.
     17. I went to Ms. MacDonald because I was told that I should raise any of these concerns
          with a trusted adult in the school.
     18. Ms. MacDonald was my trusted adult because she had a relationship with my older
          sisters.
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     19. Ms. MacDonald did not report this and I was never asked about it again. This convinced
         me that it was normal for boys to grab girls’ butts and breasts.
     20. I was led to believe that this was not sexual assault.
     21. Over the course of the year, Sebastian and Randy’s conduct continued to escalate,
         leading to more severe sexual harassment, both in school and out of school.
     22. This included them inserting their fingers into my vagina, into my pants, and putting
         their hands up my shirt.
     23. This occurred both on and off school grounds around 60-100 times during the
         2016-2017 school year.
     24. I continued to believe that this was normal behavior because of the lessons I had learned
         at Everitt under Titty Touch Tuesday and Slap Ass Friday.
     25. In reflection, I think that Sebastian and Randy believed that this was normal and
         acceptable behavior as well because of the culture that was permitted at Everitt Middle
         School.
     26. During the weekend before the last week at school, I was at Elitch Gardens with my
         boyfriend at the time, a couple friends, and Randy and Sebastian.
     27. While waiting in line, Randy and Sebastian grabbed my breasts under my shirt.
     28. I didn’t think anything of this because of my experiences all year.
     29. My boyfriend at the time told me that it wasn’t ok and that this was a sexual assault.
     30. I didn’t believe him, so I later asked my older sister who had also gone to Everitt.
     31. She told me that it was sexual harassment and assault.
     32. My sister then made me tell my mom and my mom immediately called the school to
         report this crime.
     33. The following morning, we went in to meet with Principal Gomez to report these
         assaults and to seek help from the school.
     34. Instead, we were only able to speak with Vice Principal Carlin.
     35. Sitting with my mom, I briefly told him about the assaults on and off campus and how
         Randy and Sebastian had been assaulting me all year in the hallways.
     36. Mr. Carlin told me that this was just how boys show you that they like you.
     37. I was not comforted by Mr. Carlin’s efforts to excuse sexual harassment.
     38. My mom told me that this is not how boys show you that they like you.
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     39. Mr. Carlin took no notes and told me that if I wanted to report my assaults and
         harassment, including those on campus, I would need to write a statement.
     40. Mr. Carlin never asked me any questions.
     41. I then went into Ms. MacDonald’s office and wrote a statement.
     42. Randy and Sebastian were each suspended for two days and then were allowed back in
         school to take their final exams.
     43. I was not able to take my final exams and instead sat in the counselor’s office.
     44. Over the summer, Sebastian and Randy continued to harass me and at some point, we
         went to the police.
     45. As the summer came to an end, I received my schedule and learned that I was placed
         into a history class with Randy and a science class with Sebastian.
     46. This caused me a lot of stress and anxiety.
     47. My mom called the school and the Wheat Ridge Police Department to let them know
         that I was being placed in the same classes as my harassers.
     48. When we went to the school to sort this out, my mom and I met with Principal Gomez.
     49. When we told them that I couldn’t be in a class with Sebastian and Randy because of my
         assaults, the only solution that Mr. Gomez could offer was to move me out of my
         classes.
     50. This was upsetting to me because at that time, Everitt split each grade in half, each with
         its own hallway. In one hallway were the advanced and honors classes. In the other were
         the remedial classes.
     51. The only solution that Mr. Gomez was willing to offer was that I should move to the
         remedial hallway to avoid Sebastian and Randy.
     52. Mr. Gomez did not want to interrupt Sebastian and Randy’s class schedules.
     53. I was told that if I didn’t want to have classes with Sebastian and Randy, I would have to
         move because I was the one with the problem with them.
     54. I couldn’t be in the same classes as my assailants, so I agreed to switch out of the honors
         classes and move to the remedial hallway.
     55. I wasn’t happy with this result, but it was forced on me.
     56. I tried to make it work, but at every turn, I was forced to make concessions while Randy
         and Sebastian got to continue with their normal lives.
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     57. It was clear to me that I had to make the changes because I was the one who had come
         forward with accusations of sexual assault - that I was the source of the problem and that
         if I couldn’t continue in classes with these boys, then it was on me to accept the burden
         of changing my classes.
     58. I was not happy with how Mr. Gomez handled this situation, but I was resigned to this
         being how it had to be in this school.
     59. I didn’t expect that a Principal who allowed Titty Touch Tuesday and Slap Ass Friday to
         go on would make any effort to side with the victim of sexual assault.
     60. As the year went on, I was increasingly forced to spend my time in the counselor’s
         office. I couldn’t avoid Sebastian and Randy and increasingly, their friends began to
         harass me.
     61. One weekend in October, I shared my experiences with a friend at a sleepover. I told her
         how I had been sexually assaulted during the previous school year.
     62. I never told Antonia that I had been raped. She must have come to that conclusion on her
         own. I only shared that I had been sexually assaulted.
     63. After this, Mr. Gomez told me that I shouldn’t talk about my sexual assaults, either on or
         off campus.
     64. I began wearing a shirt to school that said “not me, not my sister.”
     65. Mr. Gomez told me that I wasn’t allowed to wear this shirt because I shouldn’t be
         talking about my sexual assaults.
     66. After charges were brought against Randy and Sebastian and they were finally removed
         from Everitt, their friends continued to harass me in the hallways.
     67. They called me a slut and a whore and told everyone that I had made up my allegations
         of sexual assault just to get Randy and Sebastian in trouble.
     68. I was also physically assaulted, including being shoved into lockers.
     69. I reported this harassment to Principal Gomez and Ms. MacDonald on November 15,
         2017.
     70. I then spoke with both Mr. Gomez and Ms. MacDonald and gave them the names of all
         of the boys that I could remember.
     71. I didn’t know the names of every boy, but I gave them a lot of names.
     72. I also gave them the times and locations of when I had been shoved into lockers.
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     73. Nothing ever happened with these boys who were harassing me.
     74. They were never disciplined and instead seemed emboldened by the lack of
         consequences.
     75. I met with Ms. MacDonald once to go over yearbooks and gave her additional names.
     76. At one point, I was asked to review some hallway video, but I told them that this was the
         wrong place, date, and time.
     77. I was never asked to review the correct videos.
     78. The boys continued to harass me and call me a slut and a whore and a liar for accusing
         Randy and Sebastian of sexually assaulting me.
     79. For a while, I continued to complain to both Mr. Gomez and Ms. MacDonald about this
         harassment I was undergoing at Everitt by these boys.
     80. Nothing ever happened.
     81. At some point, I became resigned to the fact that Mr. Gomez was not going to do
         anything to stop these boys from harassing me.
     82. Gradually, I began to spend more and more time in the counselor’s office to avoid
         harassment in the halls.
     83. I didn’t really even do any school work in eighth grade.
     84. I tried online learning, particularly in science, but it wasn’t the same and I couldn’t keep
         up.
     85. I fell behind and didn’t feel like I could catch up.
     86. When I got to high school, I was really far behind, which was upsetting because I had
         been a good student before all of this.
     87. I had loved school, but by the time I got to ninth grade, I couldn’t function in school. I
         didn’t feel safe in the hallways and I didn’t trust the adults in the school.
     88. Ultimately, I dropped out of the JeffCo school system and began doing school online.
     89. But I was robbed of the normal experiences of a high school student - prom, Friday
         night football, normal high school relationships, etc.
     90. I am still working through this trauma, but I am getting better and will continue to get
         better.
     91. I still struggle with school work. I am still working to obtain my high school diploma,
         though I expect to receive it this fall. But this is more than a year late.
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     92. All of this and my educational delays, are a result of how I was treated and ignored
          while at Everitt.
     93. I am worried about my preparation and readiness for college next year.



                                                     ______________________________
                                                     Sarah Tankersley-Clark


  Subscribed and sworn before me by Sarah Tankersely-Clark

  this 20th day of October 2023



  __________________________
  Name of Notary


  My commission expires: ______________
